                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA


 KEYBANK NATIONAL ASSOCIATION, Civil Action No. 2:21-CV-1337-NBF
 a national banking association, successor
 by merger to First Niagara Bank, N.A.,

                         Plaintiff,               REQUEST FOR CLERK’S
            v.                                    CERTIFICATE OF DEFAULT AS TO
                                                  DEFENDANTS T.J.V. HOLDINGS,
 T.J.V. HOLDINGS, LLC; VELTRI                     LLC; VELTRI ELECTRIC, INC.,
 ELECTRIC, INC.; JOHN A. VELTRI, JR.;             JOHN A. VELTRI, JR.; AND TAMI J.
 and TAMI J. VELTRI,                              VELTRI

                         Defendants.


       Pursuant to Federal Rule of Civil Procedure 55(a), Plaintiff, KeyBank National Association

(“KeyBank”) requests a Clerk’s Certificate of Entry of Default as to Defendants T.J.V. Holdings,

LLC, Veltri Electric, Inc., John A. Veltri, Jr., and Tami J. Veltri. Within an accompanying

affidavit, I affirm that the parties against whom the Judgment is sought:

       1.        Are not infants or incompetent persons;

       2.        Are not in the military service of the United States;

       3.        Were properly served under Federal Rule of Civil Procedure 4, and a proof of

service having been filed with the Court; and

       4.        Have defaulted in appearance in the above captioned action.

                                                    Respectfully submitted,

 Date: January 24, 2022                             WONG FLEMING
                                                    /s/ Dafney Dubuisson Stokes
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